     Case 1-24-42408-jmm         Doc 18     Filed 07/22/24     Entered 07/22/24 10:12:15




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

                                                 )
                                                 )
 In re:                                          )   Chapter 11
                                                 )
  NIDA PROPERTY INC.,                            )   Case No. 24-42408 (JMM)
                                                 )
                                                 )
                      Debtor.                    )
                                                 )
                                                 )

          STIPULATION AND NOTICE OF SUBSTITUTION OF ATTORNEY

               WHEREAS, on June 11, 2024, the law firm of Ravert PLLC appeared as counsel

of record by filing a notice of appearance on the docket sheet in the above-captioned chapter 11

case [ECF No. 6] on behalf of creditor 808 E 16 Funding LLC;

               WHEREAS, as of the date below, Ravert PLLC is withdrawing as counsel for

808 E 16 Funding LLC and as of the date below the law firm of Goldberg Weprin Finkel

Goldstein LLP will be substituted as counsel of record for 808 E 16 Funding LLC in this case;

               WHEREAS, Goldberg Weprin Finkel Goldstein LLP agrees that within three (3)

business days of the date this substitution of counsel is so-ordered by the Court, it will file its

notice of appearance on behalf of 808 E 16 Funding LLC.

               NOT THEREFORE, the undersigned agree that, as of and from the date this

stipulation and notice of substitution of counsel is so-ordered by the Court, Ravert PLLC is

relieved as counsel for 808 E 16 Funding LLC and Goldberg Weprin Finkel Goldstein LLP shall

appear in this matter on behalf of 808 E 16 Funding LLC.

Dated: New York, New York
       July 14, 2024

RAVERT PLLC                                   GOLDBERG WEPRIN FINKEL
                                              GOLDSTEIN LLP
/s/ Gary O. Ravert____________________
Gary O. Ravert                                 /s/ J. Ted Donovan
16 Madison Square West, FL12, #269             J. Ted Donovan
New York, New York 10010                       125 Park Avenue, 12th Floor
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Counsel for the 808 E 16 Funding LLC     Incoming Counsel for 808 E 16 Funding LLC



IT IS SO-ORDERED:




 Dated: July 22, 2024                                    ____________________________
        Brooklyn, New York                                      Jil Mazer-Marino
                                                          United States Bankruptcy Judge
